















NUMBER 13-07-00486-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										


THE STATE OF TEXAS,	Appellant,


v.



RAFAEL JAVIER RODRIGUEZ,	Appellee.


____________________________________________________________


On Appeal from the 92nd District Court


of Hidalgo County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Benavides 


Memorandum Opinion Per Curiam



	Appellant, the State of Texas, by and through its Criminal District Attorney, the
Honorable René Guerra, has filed a motion for dismissal of its appeal pursuant to Rule
42.2 of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 42.2(a).  No decision
of this Court having been delivered to date, we grant the motion and dismiss the appeal.
Having dismissed the appeal at appellant's request, no motion for rehearing will be
entertained, and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and filed

this 15th day of November, 2007.


